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 7                    UNITED STATES DISTRICT COURT
                           DISTRICT OF NEVADA
 8

 9                                    )
     FEDERAL TRADE                    )
10
     COMMISSION,                      )
11                                    )   Case No. 2:18-cv-00183-GMN-CWH
              Petitioner,             )
12
                                      )   Reply in Support of Motion to
13       v.                           )   Dismiss for Lack of Personal
                                      )   Jurisdiction, for Insufficient Service,
14
     DONOR RELATIONS,                 )   and for Insufficient Process Made
15   LLC, and COURTESY                )   by Special Appearance
     CALL, INC.,                      )
16
                                      )
17            Respondents.            )
                                      )
18
         COME NOW purported Respondents Donor Relations, LLC and
19
     Courtesy Call, Inc. (the “Purported Respondents”), who appear specially
20
     through undersigned counsel pro hac vice (pro hac vice applications
21
     pending), not as a general appearance but in a limited capacity to
22
     maintain objections to personal jurisdiction, and hereby respectfully
23
     files this reply in support of their motion to dismiss the Petition for lack
24
     of personal jurisdiction pursuant to Fed. R. Civ. P. 12(b)(2), (4) and (5).
25

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 1                                   Argument
 2       In its opposition, the FTC propagates the rather strange notion that
 3   it is immune from bedrock civil procedure rules that control our federal
 4   civil litigation process. To obscure the necessity of adhering to the
 5   controlling procedural rules, let alone the fundamental tenets of Due
 6   Process, the FTC’s Opposition presents a plethora of factually and
 7   procedurally distinguishable cases to support its tenuous position.
 8       In these cases, appellants were mainly contesting discovery matters
 9   and the good faith of the agency’s administrative process. None
10   specifically address the situation at hand, where the summons itself
11   was never issued, much less served with the initial pleading, and thus
12   no personal jurisdiction exists. These cases do, however, speak to the
13   general proposition that the Rule 4 can be read more flexibly during
14   pre-Complaint, agency enforcement proceedings. This is not an open
15   invitation to dispense with the most basic tenets of service of process
16   when initiating a federal civil action in district court. As Donaldson v.
17   United States, 400 U.S. 517, 528 (1971) notes, the rights of the party
18   must still be preserved.
19       Crucially, the FTC’s opposition inaccurately conflates an agency
20   summons with the summons required by Rule 4 to initiate a federal
21   civil action. The various agency “summonses” being analogized by the
22   FTC in its opposition paper are not summonses for the purpose of Rule
23   4, which accompany initial pleadings. Here, the enforcement petition
24   filed with the District Court requires proper service, including a
25   summons, to vest personal jurisdiction. In contrast, United States v.
26   Hooper, 76 F.3d 389 (9th Cir. 1995), cited by the FTC in opposition to

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 1   the Respondents’ motion, refers to an initial IRS administrative
 2   summons and subpoena, the equivalent here being the CID. The
 3   issuance of an administrative summons, like a CID or IRS summons,
 4   does not require adherence to Rule 4 when issued (nor do we argue
 5   otherwise). This is a fine distinction with significant resultant
 6   procedural implications.
 7       In contrast to the FTC’s position, the law in the Ninth Circuit
 8   appears to firmly hold otherwise, that adherence to Rule 4 in this exact
 9   situation is mandatory. “The district court acquires personal
10   jurisdiction over the taxpayer by service of the show cause order and
11   the petition for enforcement of the summons… Service must be made in
12   compliance with Rule 4 of the Federal Rules of Civil Procedure.” United
13   States v. Gilleran, 992 F.2d 232, 233 (9th Cir. 1993) (emphasis added)
14   (citing both United States v. Bichara, 826 F.2d 1037, 1039 (11th Cir.
15   1987) and Donaldson v. United States, 400 U.S. 517, 528-29 (1971)). In
16   turn, the Northern District of California relied on Gilleran to dismiss an
17   administrative summons enforcement petition for lack of personal
18   jurisdiction. See Harris v. Abbas, 2013 U.S. Dist. LEXIS 36384 (N.D.
19   Cal. 2013).
20       Harris is particularly apt to the instant case because in both Harris
21   and in this case, the Order to Show Cause required the Petitioner to
22   serve copies of the order, the petition, and supporting documents, but
23   yet the Harris court found that this order did not vitiate the need to
24   comply with Rule 4’s issuance of a summons:
25        The district [court] has not implemented a local rule
          addressing service of process in subpoena enforcement
26

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 1         actions. Nor did the court provide special instruction for
           service when it issued the OSC, other than to order
 2
           Petitioner to “forwith serve copies of this Order to Show
 3         Cause and a copy of the Petition and supporting documents
           on Respondents.” Thus, Rule 81 [referring in particular to
 4
           Rule 81(a)(5)] mandates application of the general civil rules
 5         governing initial service.
 6
     Id. at *5.
 7
     The district court then explained that a corporation “may be served ‘by
 8
     delivering a copy of the summons and of the complaint to an officer . . .”
 9
     Id. Because the Petitioner did not initiate service in compliance with
10
     Rule 4, the Harris court held “the Petition is dismissed without
11
     prejudice for lack of personal jurisdiction. Id. at * 9.
12
         In this case, Respondent maintains that service of the show cause
13
     order and the petition for the enforcement of the summons was never
14
     properly effected per Gilleran, as no accompanying summons was ever
15
     obtained or served. In accordance with this controlling authority, no
16
     personal jurisdiction was obtained over either of the Respondents. This
17
     is no mere technicality, nor does the FTC’s apparently unopposed
18
     custom of ignoring this requirement render it acceptable to forgo it in
19
     this instance. Permitting an agency to demand the appearance of a
20
     party without complying with Rule 4’s summons requirement
21
     endangers one’s Constitutionally afforded right of Due Process, as
22
     forewarned in Donaldson.
23
                                     Conclusion
24
         Summarily, the authorities cited by the FTC in furtherance of the
25
     argument that basic service requirements are optional are not
26

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 1   persuasive. Moreover, they are wholly rebutted by this Circuit’s holding
 2   in United States v. Gilleran, which unequivocally states that Rule 4 is
 3   essential to the procurement of personal jurisdiction. By failing to
 4   adhere to Rule 4’s requirement that a summons be obtained and served
 5   upon the Respondent with the order to show cause and the enforcement
 6   petition, the court lacks personal jurisdiction over the Respondents and
 7   the FTC’s enforcement action is due to be dismissed.
 8

 9
         Respectfully submitted this 15th day of February, 2018.
10
                             THE BERNHOFT LAW FIRM, S.C.
11
                             Attorneys for Donor Relations, LLC and
12                           for Courtesy Call, Inc.
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             Petitioner,            )
12
                                    )
13      v.                          )
                                    )
14
     DONOR RELATIONS,               )
15   LLC, and COURTESY              )
     CALL, INC.,                    )
16
                                    )
17           Respondents.           )
                                    )
18
        The undersigned hereby certifies that this document was served via
19
     the Court’s ECF system and that opposing counsel is registered as an
20
     ECF user with this Court.
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